Case 17-18330-amc          Doc 35
                              Filed 08/28/18 Entered 08/28/18 22:46:58 Desc Main
                             Document      Page 1 of 3
                   IN THE UNITED STATES BANKRUPTCY COURT
          FOR THE EASTERN DISTRICT OF PENNSYLVANIA (PHILADELPHIA)
IN RE:
                                                          :
ANDY E. NUNEZ                                                   BK. No. 17-18330-amc
                                                          :
JENNIFER G. MENDEZ
                                                          :
AKA JENNIFER G MENDEZ-NUNEZ                                     Chapter No. 13
                                                          :
                    Debtors
                                                          :
                                                          :
WELLS FARGO BANK, NA
                                                          :
                    Movant
                                                          :
               v.                                               11 U.S.C. §362
                                                          :
ANDY E. NUNEZ
                                                          :
JENNIFER G. MENDEZ
                                                          :
AKA JENNIFER G MENDEZ-NUNEZ
                                                          :
                    Respondents

   MOTION OF WELLS FARGO BANK, NA FOR RELIEF FROM AUTOMATIC STAY
       UNDER §362 PURSUANT TO BANKRUPTCY PROCEDURE RULE 4001

               Movant, by its attorneys, PHELAN HALLINAN DIAMOND & JONES, LLP, hereby

requests a termination of Automatic Stay and leave to foreclose on its mortgage on real property

owned by ANDY NUNEZ.

               1.      Movant is WELLS FARGO BANK, NA.

               2.      Debtor(s) executed a promissory note secured by a mortgage or deed of trust.

The promissory note is either made payable to Creditor or has been duly indorsed. Creditor, directly or

through an agent, has possession of the promissory note. Creditor is the original mortgagee or

beneficiary or the assignee of the mortgage or deed of trust.

               3.      ANDY NUNEZ is the owner of the premises located at 7543 WOOLSTON

AVENUE, PHILADELPHIA, PA 19150 NKA 7543 WOOLSTON AVE, PHILADELPHIA, PA

19150, hereinafter known as the mortgaged premises.

               4.      Movant is the holder of a mortgage on the mortgaged premises. The terms of

the Debt Agreement were amended by a loan modification agreement entered into by and between

Wells Fargo Bank, NA and Debtor(s) dated August 6, 2015 (the "Loan Modification Agreement").

               5.      Debtors' failure to tender monthly payments in a manner consistent with the

terms of the Mortgage and Note result in a lack of adequate protection.

               6.      Movant has instituted foreclosure proceedings on the mortgage because of
Case 17-18330-amc          Doc 35    Filed 08/28/18 Entered 08/28/18 22:46:58              Desc Main
                                     Document       Page 2 of 3
Debtors' failure to make the monthly payment required hereunder.

               7.       The foreclosure proceedings instituted were stayed by the filing of the instant

Chapter 13 Petition.

               8.       As of July 25, 2018, Debtors have failed to tender post-petition mortgage

payments for the months of May 2018 through July 2018. The monthly payment amount for the

month of May 1, 2018 is $945.72, payment amount for the months of June 1, 2018 through July 1,

2018 is $956.30 each, for a total amount due of $2,858.32. The next payment is due on or before

August 1, 2018 in the amount of $956.30. Under the terms of the Note and Mortgage, Debtors have a

continuing obligation to remain current post-petition and failure to do so results in a lack of adequate

protection to Movant.

               9.       Movant has cause to have the Automatic Stay terminated as to permit Movant

to complete foreclosure on its mortgage.

               10.      Movant specifically requests permission from the Honorable Court to

communicate with Debtors and Debtors' counsel to the extent necessary to comply with applicable

nonbankruptcy law.

               11.      Movant, it's successors and assignees posits that due to Debtor's continuing

failure to tender post-petition mortgage payments and the resulting and ever increasing lack of

adequate protection that said failure presents, sufficient grounds exist for waiver of Rule 4001(a)(3),

and that Movant, its successors or assignees should be allowed to immediately enforce and implement

the Order granting relief from the automatic stay.

               12.      Movant requests that Federal Rule of Bankruptcy Procedure 3002.1 be waived.

               WHEREFORE, Movant respectfully requests that this Court enter an Order;

               a.       Modifying the Automatic Stay under Section 362 with respect to 7543

WOOLSTON AVENUE, PHILADELPHIA, PA 19150 NKA 7543 WOOLSTON AVE,

PHILADELPHIA, PA 19150 (as more fully set forth in the legal description attached to the

Mortgage of record granted against the Premises), as to allow Movant, its successors and assignees, to
Case 17-18330-amc         Doc 35      Filed 08/28/18 Entered 08/28/18 22:46:58              Desc Main
                                      Document        Page 3 of 3
proceed with its rights under the terms of said Mortgage; and

               b.     Movant specifically requests permission from this Honorable Court to

communicate with Debtors and Debtors' counsel to the extent necessary to comply with applicable

nonbankruptcy law; and

               c.     Holding that due to Debtor's continuing failure to tender post-petition mortgage

payments and the resulting and ever increasing lack of adequate protection that said failure presents,

sufficient grounds exist for waiver of Rule 4001(a)(3), and that Movant, its successors or assignees,

should be allowed to immediately enforce and implement the Order granting relief from the automatic

stay; and

               d.     Waiving Federal Rule of Bankruptcy Procedure 3002.1; and

               e.     Granting any other relief that this Court deems equitable and just.

                                                    /s/ Jerome Blank, Esquire
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